Platt, Monica

From:               Jason Rabinovich <jason@rslawgroup.com>
Sent:               Wednesday, May 18, 2022 4:57 PM
To:                 Platt, Monica
Cc:                 Oleg Sokolov; Correll, Francis
Subject:            Re: Velez Enterprises v. KVK, et al - discovery


Monica,

We disagree that any precedential case you cited is applicable, or would extend, to the circumstances of our case. You
will have to raise this issue with the court.


‐‐
Jason Rabinovich, Esq.
Managing Partner




Rabinovich Sokolov Law Group
1700 Market Street
Suite 1005
Philadelphia, PA 19103
(215) 717‐2200
jason@rslawgroup.com

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        On May 18, 2022, at 3:29 PM, Platt, Monica <MPlatt@klehr.com> wrote:

        Jason,

        As we have previously informed you, via correspondence on March 9 (which is attached for reference),
        KVK hired OQSIE at the direction of KVK’s counsel to assist in responding to the Warning Letter.
        Moreover, as already laid out more fully in the attached correspondence, the work product privilege
        clearly protects against disclosure of materials prepared by consultants and other agents. See, e.g.,
        Martin v. Bally's Park Place Hotel & Casino, 983 F.2d 1252, 1260‐62 (3d Cir. 1993). The fact that counsel
        may not have requested changes to OQSIE’s work does not alter the nature of the engagement. As such,
        we cannot agree to limit the confidentiality stipulation as you suggest.
                                                             1
Monica



From: Jason Rabinovich <jason@rslawgroup.com>
Sent: Monday, May 16, 2022 3:50 PM
To: Platt, Monica <MPlatt@klehr.com>
Cc: Oleg Sokolov <oleg@rslawgroup.com>; Correll, Francis <FCorrell@klehr.com>
Subject: Re: Velez Enterprises v. KVK, et al ‐ discovery

Monica,

We cannot agree to this revision. Is it your clients' position that all of plaintiff’s work was performed "at
the direction of and in consultation with KVK’s counsel”?

Per our client, KVK’s counsel did not direct the work Plaintiff performed for KVK. He merely reviewed
some of the documents that Plaintiff created but did not request Plaintiff to change any material
content in those documents.


‐‐
Jason Rabinovich, Esq.
Managing Partner

<image001.png>

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         On May 16, 2022, at 3:05 PM, Platt, Monica <MPlatt@klehr.com> wrote:

         Jason,

         Attached is a revised draft of the stipulation. I accepted all of your changes with the
         exception of the highlighted text below. Please let me know if you are OK with me


                                                      2
adding your signature and submitting this to Judge Baylson. And apologies for getting
your name wrong in the signature block!

                WHEREAS, this action involves work performed by Plaintiff and others
                for KVK to respond to issues raised in a warning letter from the Food
                and Drug Administration to KVK dated February 11, 2020 (the “Warning
                Letter”) that was performed, in part, at the direction of and in
                consultation with KVK’s counsel resulting in the creation of certain
                documents and communications protected by the attorney/client
                and/or work‐product privileges

Thank you,
Monica

From: Jason Rabinovich <jason@rslawgroup.com>
Sent: Friday, May 13, 2022 1:14 PM
To: Platt, Monica <MPlatt@klehr.com>
Cc: Oleg Sokolov <oleg@rslawgroup.com>; Correll, Francis <FCorrell@klehr.com>
Subject: Re: Velez Enterprises v. KVK, et al ‐ discovery

Monica,

Please find attached red‐lined stip with several changes. Please advise if these are
acceptable to you and your clients.


‐‐
Jason Rabinovich, Esq.
Managing Partner

<image001.png>


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                                             3
On May 9, 2022, at 5:05 PM, Jason Rabinovich
<jason@rslawgroup.com> wrote:

Hi Monica,

Oleg and I been tied up with hearings/trials for the last week. I’ll review
the confidentiality agreement over the next few days and provide you
any comments so we can finalize it.




        On May 9, 2022, at 9:40 AM, Platt, Monica
        <MPlatt@klehr.com> wrote:

        Jason & Oleg,

        Following up on this confidentiality agreement. Please
        let us know if you have any comments so that we can
        provide this to the court.

        Monica

        From: Platt, Monica
        Sent: Wednesday, May 4, 2022 11:49 AM
        To: Jason Rabinovich <jason@rslawgroup.com>
        Cc: Oleg Sokolov <oleg@rslawgroup.com>; Correll,
        Francis <FCorrell@klehr.com>
        Subject: RE: Velez Enterprises v. KVK, et al ‐ discovery

        Jason,

        A draft confidentiality stipulation is attached. Please let
        us know if you have any comments.

        Monica

        From: Jason Rabinovich <jason@rslawgroup.com>
        Sent: Friday, April 22, 2022 11:21 AM
        To: Platt, Monica <MPlatt@klehr.com>
        Cc: Oleg Sokolov <oleg@rslawgroup.com>; Correll,
        Francis <FCorrell@klehr.com>
        Subject: Re: Velez Enterprises v. KVK, et al ‐ discovery

        Hi Monica,

        We agree to hold off producing our discovery responses
        and responsive documents until a confidentiality

                                     4
agreement is in place. We will look for your draft next
week.

Regarding the settlement demand, we are still
discussing it with our client and hope to get back to you
next week.

Thank you.


‐‐
Jason Rabinovich, Esq.
Managing Partner

<image001.png>

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        On Apr 22, 2022, at 10:03 AM, Platt,
        Monica <MPlatt@klehr.com> wrote:

        Oleg & Jason,

        We are in the process of drafting a
        confidentiality agreement, and expect
        to have a draft over to you next week.
        In light of that and given that your
        discovery responses are due today, we
        think it makes sense to hold off on

                            5
producing responsive documents for
another week.

Did you hear anything back from your
client with respect to a settlement
demand?

Monica

From: Oleg Sokolov
<oleg@rslawgroup.com>
Sent: Tuesday, April 5, 2022 2:27 PM
To: Platt, Monica <MPlatt@klehr.com>
Cc: Jason Rabinovich
<jason@rslawgroup.com>; Correll,
Francis <FCorrell@klehr.com>
Subject: Re: Velez Enterprises v. KVK, et
al ‐ discovery


Ok great. Thank you. What time is
good for a call and what’s best number
to reach you on?

Oleg Sokolov, Esq.
Managing Partner

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Philadelphia, PA 19103
(215) 717‐2200
oleg@rslawgroup.com
rslawgroup.com

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This message was sent from a mobile
device. Please excuse any errors.




       On Apr 5, 2022, at
       12:14 PM, Platt, Monica
       <MPlatt@klehr.com>
       wrote:


       Oleg,
       I am checking with the
       client on the extension.
       I’m available this
       afternoon for a call.

       Monica

       From: Oleg Sokolov
       <oleg@rslawgroup.com
       >
       Sent: Tuesday, April 5,
       2022 11:39 AM
       To: Platt, Monica
       <MPlatt@klehr.com>
       Cc: Jason Rabinovich
       <jason@rslawgroup.co
       m>; Correll, Francis
       <FCorrell@klehr.com>
       Subject: Re: Velez
       Enterprises v. KVK, et al
       ‐ discovery

       Hi Monica,

       Our client is working
       through getting all of
       the requested
       information together
       and may need a little
       bit more time. We
       would like to request
       an extension to
       respond to discovery
       until 4/22.

       Also, please let me
       know if you are
                    7
available for a call
today or tomorrow
about this
matter. Would like to
discuss a few things
with you.

Thank you so much,
Oleg Sokolov,
Esq.
Managing Partner

<image001.png>

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oleg@rslawgroup.com
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          On Mar
          9, 2022,
          at 3:55
          PM,
          Platt,
          Monica
               8
<MPlatt
@klehr.
com>
wrote:

Counsel
,

Please
see
attache
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corresp
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discove
ry
request
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directe
d to
OQSIE.

Thank
you,
Monica



MONICA CLARKE PLATT
PARTNER

<image001.jpg>KLEHR HARRISON HARVEY BRANZBURG LLP
              1835 Market Street | Suite 1400 | Philadelphia, PA
              t 215.569.3006 | f 215.568.6603
              mplatt@klehr.com




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Sokolov
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